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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-290 (RBW)
                                     )
JEFFREY ALEXANDER SMITH,             )
                                     )
                  Defendant.         )
____________________________________ )

                                              ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

October 7, 2021, via teleconference, it is hereby

       ORDERED that the plea hearing currently scheduled for October 28, 2021, at 9:00 a.m.,

is CONTINUED to October 28, 2021, at 12:00 p.m., via videoconference. The plea hearing will

be conducted via videoconference at the request of counsel and with consent of the government

and the defendant. It is further

       ORDERED that, with the consent of the parties, the time from October 7, 2021, until the

plea hearing scheduled for October 28, 2021, is excluded under the Speedy Trial Act, in light of

the fact that the parties require additional time to finalize the plea documents in this case.

       SO ORDERED this 12th day of October, 2021.



                                                                ________________________
                                                                REGGIE B. WALTON
                                                                United States District Judge
